                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 1 of 14 Page ID #:1


                                       1   Gloria Dredd Haney, State Bar No. 157627
                                           LAW OFFICES OF GLORIA DREDD HANEY
                                       2   City Tower Center
                                           333 City Boulevard West, 17th Floor
                                       3   Orange, California 92868
                                           Office:     714.938.3230
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                                           Email:      dreddlaw@sbcglobal.net
                                       5
                                           Attorney for Plaintiff
                                       6   KIM FERRANTE
                                       7

                                       8                        UNITED STATES DISTRICT COURT
                                       9
                                                               CENTRAL DISTRICT OF CALIFORNIA
                                      10
                                           KIM FERRANTE,                                  Case No.: ___________________
                                      11
                                                              Plaintiff,
                                      12
LAW OFFICES OF GLORIA DREDD HANEY




                                                 vs.                                      PLAINTIFF KIM FERRANTE’S
                                      13                                                  VERIFIED FEDERAL COMPLAINT
                                           ENCORE EDUCATION                               FOR DAMAGES AND EQUITABLE
333 City Boulevard West, 17th Floor




                                      14   CORPORATION, a Charter School;                 RELIEF
                                           DENISE GRIFFIN, an Individual; JOHN
                                      15   GRIFFIN, an Individual; and
Orange, California 92868




                                           DOES 1 through 10, Inclusive,                  DEMAND FOR JURY TRIAL
                                      16
                                                              Defendants.
                                      17

                                      18

                                      19         Plaintiff, KIM FERRANTE (“Plaintiff” or “Ferrante”), hereby complains

                                      20   against Defendants ENCORE EDUCATION CORE (hereafter “Encore”), DENISE
                                      21
                                           GRIFFIN (hereafter “Defendants” or “D. Griffin”), and JOHN GRIFFIN (hereafter
                                      22

                                      23   “Defendants” or “J, Griffin”).

                                      24
                                                                             NATURE OF CASE
                                      25

                                      26      1. This is a civil action seeking damages and relief against Defendants for
                                      27
                                           committing unlawful acts against Plaintiff and for depriving Plaintiff of her rights,
                                      28


                                                                                      1
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 2 of 14 Page ID #:2


                                       1   inter alia, secured by the federal United States Age Discrimination in Employment
                                       2
                                           Act (“ADEA) and the state of California Fair Employment and Housing Act
                                       3

                                       4   (“FEHA”).
                                       5      2. As a result of being continuously humiliated and embarrassed with the loss
                                       6
                                           of Plaintiff’s self-esteem associated with the treats, harassment, and bullying by the
                                       7

                                       8   Defendants and interfering with Plaintiff’s job responsibilities and assignments
                                       9   relating to her duties at Encore, Ferrante was laid off from her employment as a
                                      10
                                           teacher because of her being over the age of 50 years while younger similarly
                                      11

                                      12   situated employees with less experience and qualification were kept in employment
LAW OFFICES OF GLORIA DREDD HANEY




                                      13   at Encore or brought back from their lay-off status. Plaintiff now seeks damages and
333 City Boulevard West, 17th Floor




                                      14
                                           equitable relief from the Defendants.
                                      15
Orange, California 92868




                                      16                               JURISDICTION AND VENUE
                                      17      3. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,
                                      18
                                           1337, 1343, 1391, the Age in Discrimination act of 1967 (29 U.S.C. § 621), Civil
                                      19

                                      20   Rights Act of 1991, as amended, §7(e) of the ADEA (29 U.S.C. 626(e), Freedom of
                                      21
                                           Speech & Expression (42 U.S.C. § 1983). This action is authorized and instituted
                                      22
                                           pursuant to 20 U.S.C. 1706 requiring the appropriate United States District Court to
                                      23

                                      24   exercise jurisdiction. Civil Rights Act of 1991, as amended, states that employment
                                      25
                                           discrimination and retaliation cases may be filed in the United States District Court.
                                      26
                                           This Court has pendent jurisdiction over Plaintiff’s state claims, both administrative
                                      27
                                      28   and common law, because they arise out of the same nucleus of common facts on


                                                                                      2
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 3 of 14 Page ID #:3


                                       1   which plaintiff’s federal discrimination claims are based. Pursuant to 28 U.S.C.
                                       2
                                           § 1367(s), federal courts have the discretion to adjudicate state-law claims that are
                                       3

                                       4   transactionally related to the federal claims.
                                       5      4. Plaintiff has suffered and continues to suffer actual injuries as a result of the
                                       6
                                           intentional, malicious, and unlawful conduct on the part of the above-named
                                       7

                                       8   Defendants. The injuries can be traced to the challenged action and conduct in this
                                       9   matter. Kim Ferrante has a personal stake in the outcome of this action and hereby
                                      10
                                           joins her request for recovery pursuant to ADEA and the FEHA and has received
                                      11

                                      12   her Equal Employment Opportunity Commission (“EEOC”) and Department of Fair
LAW OFFICES OF GLORIA DREDD HANEY




                                      13   Employment and Housing (“DFEH”) right-to-sue notices, which are attached as
333 City Boulevard West, 17th Floor




                                      14
                                           Exhibit “A” for the EEOC right-to-sue notice with the EEOC complaint and Exhibit
                                      15
Orange, California 92868




                                      16   “B” for the DFEH right-to-sue notice with the complaint.
                                      17      5. Plaintiff resides in San Bernardino County within the jurisdiction of the
                                      18
                                           United States District Court in and for the Central District of California.
                                      19

                                      20      6. Encore, a public entity and California Corporation, is doing business in San
                                      21
                                           Bernardino County within the jurisdiction of the United States District Court/Central
                                      22
                                           District.
                                      23

                                      24

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                                                                                       3
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 4 of 14 Page ID #:4


                                       1      OVERVIEW OF THE RELEVANT FACTS AND BACKGROUND FACTS
                                       2
                                              7. Ferrante had been working for Encore since about 2008 to January 17, 2020,
                                       3

                                       4   most recently as a History Teacher. On or about January 17, 2020, she was laid off
                                       5   from her job.
                                       6
                                              8. The reason she was given by the Defendants D. Griffin, the Chief Executive
                                       7

                                       8   Officer of Encore, and J. Griffin, the Chief Operating Officer of Encore, is that there
                                       9   was a financial hardship. However, their reason was not true.
                                      10
                                              9. Within the Encore campuses, there were subsequently two schools: Hesperia
                                      11

                                      12   and Riverside. Ferrante taught history predominately at the Hesperia Campus.
LAW OFFICES OF GLORIA DREDD HANEY




                                      13      10. At the Hesperia Campus, Ferrante was the OLDEST history teacher at 50
333 City Boulevard West, 17th Floor




                                      14
                                           years with the most qualifications and experience with approximately 12 years at
                                      15
Orange, California 92868




                                      16   Encore. While there may have been teachers over the age of 40, they were
                                      17   substantially younger than Ferrante. Ferrante was the Department Chairperson, a
                                      18
                                           member of the Center for Teacher Innovation (“CTI”), trained teachers on the behalf
                                      19

                                      20   of Encore, had outstanding evaluations/commendation, and was identified as having
                                      21
                                           outstanding qualifications.
                                      22
                                              11. The Riverside Campus was closed completely, again, purportedly because of
                                      23

                                      24   financial difficulties. Some of the teachers at Hesperia were laid off, including
                                      25
                                           Ferrante. Some of the teachers at Hesperia were not laid off which included those
                                      26
                                           younger than Ferrante and with less experience and qualifications. Subsequently,
                                      27
                                      28


                                                                                      4
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 5 of 14 Page ID #:5


                                       1   those who were laid off at Hesperia were asked to return to the Hesperia Campus
                                       2
                                           EXCEPT for Ferrante. Incredulously, even teachers who were laid off because the
                                       3

                                       4   entire Riverside Campus CLOSED who were younger than Ferrante were asked to
                                       5   come and teach at Hesperia. ALL of the teachers at the Hesperia Campus were
                                       6
                                           much younger than Ferrante with less experience and qualifications.
                                       7

                                       8      12. Ferrante learned that while she was at the Hesperia Campus and after her
                                       9   removal from her teaching duties, the Defendants referred to her as a “scatter brain”
                                      10
                                           and “wholly disorganized,” both of which were not true. Ferrante should have been
                                      11

                                      12   asked to return because of her (1) experience, (2) qualifications, (3) commendation,
LAW OFFICES OF GLORIA DREDD HANEY




                                      13   (4) additional duties of actually training teachers, and (5) position as the Chair of her
333 City Boulevard West, 17th Floor




                                      14
                                           Department, especially when compared to ALL of those teachers who were asked to
                                      15
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                                      16   return to Encore and who continued to teach now at the Hesperia Campus.
                                      17     13. Ferrante believes she was discriminated against because of her age in
                                      18
                                           violation of the ADEA and FEHA, because of the hostile environment she
                                      19

                                      20   experienced based in violation of the ADEA and FEHA, and was retaliated against
                                      21
                                           because she routinely engaged in protected activities and because of her age in
                                      22
                                           violation of the ADEA and FEHA.
                                      23

                                      24    14. Encore refused to prevent this discrimination for which it was informed
                                      25
                                           and should be responsible and liable for its continuation and failure and refusal
                                      26
                                           to bring Ferrante back as all of the other teachers who were and are younger than
                                      27
                                      28   she.


                                                                                       5
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 6 of 14 Page ID #:6


                                       1                            STATEMENT OF STATE CLAIM
                                       2
                                                                       FIRST CLAIM FOR RELIEF
                                       3

                                       4             (Violation of the Federal Age Discrimination in Employment Act
                                       5                     and California Government Code, §12900, et seq.)
                                       6
                                                                  for Age Discrimination in Employment)
                                       7

                                       8      15. The allegations and attachments set forth above in paragraphs 1 through 24,
                                       9   inclusive, are incorporated into this claim for relief by reference as if set forth in
                                      10
                                           full.
                                      11

                                      12      16. Plaintiff is over the age of 50 years and has been discriminated against
LAW OFFICES OF GLORIA DREDD HANEY




                                      13   because of her age. She performed her job duties well and was complimented on
333 City Boulevard West, 17th Floor




                                      14
                                           her on ability with outstanding evaluations and commendations by her supervisors.
                                      15
Orange, California 92868




                                      16   Despite these facts regarding Plaintiff’s performance, she denied the rights and
                                      17   privileges of her job and was REPLACED by those teachers who are younger, less
                                      18
                                           qualified, with less experience.
                                      19

                                      20           WHEREFORE, plaintiff demands judgment against Defendant Encore.
                                      21

                                      22

                                      23

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                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 7 of 14 Page ID #:7


                                       1                  STATEMENT OF FEDERAL AND STATE CLAIM
                                       2
                                                                     SECOND CLAIM FOR RELIEF
                                       3

                                       4               (Violation of the California Government Code, §12900, et seq.
                                       5                    Failure To Prevent Discrimination in Employment)
                                       6
                                              17. The allegations and attachments set forth above in paragraphs 1 through 16,
                                       7

                                       8      inclusive, are incorporated into this claim for relief by reference as if set forth in
                                       9      full.
                                      10
                                              18. Plaintiff has established that discrimination occurred and that Encore failed
                                      11

                                      12   to prevent the discrimination based on age discrimination from occurring.
LAW OFFICES OF GLORIA DREDD HANEY




                                      13      19. District did not take all reasonable steps to prevent the discrimination from
333 City Boulevard West, 17th Floor




                                      14
                                           Occurring, that is not to discriminate based on age discrimination.
                                      15
Orange, California 92868




                                      16           WHEREFORE, Plaintiff demands judgment against defendant Encore.
                                      17                            STATEMENT OF STATE CLAIM
                                      18
                                                                      THIRD CLAIM FOR RELIEF
                                      19

                                      20                               (Retaliation Pursuant to FEHA)
                                      21
                                               20. The allegations and attachments set forth above in paragraphs 1 through 19,
                                      22
                                           inclusive, are incorporated into this claim for relief by reference as if set forth in
                                      23

                                      24   full.
                                      25
                                              21. Plaintiff was retaliated against because of her age. She was treated this way
                                      26
                                           because of her complaints and protesting age discrimination. The Defendants made
                                      27
                                      28   sure she would never return to teach at Encore even though teachers who were


                                                                                        7
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 8 of 14 Page ID #:8


                                       1   younger, less qualified, and with less experience were asked to return. The
                                       2
                                           retaliation and hostile environment leveled against her were in violation of the
                                       3

                                       4   California Fair Employment and Housing Act.
                                       5    22. Defendants acted with (1) the intent to inflict the injury upon Plaintiff and (2)
                                       6
                                           the realization that the injury of losing her job was substantially certain to result
                                       7

                                       8   from Defendants’ conduct, most especially because of Plaintiff’s age. Plaintiff’s
                                       9   emotional distress was and is now severe, substantial and enduring and was actually
                                      10
                                           caused by the Defendant’s professionally unlawful conduct.
                                      11

                                      12    23. As a direct and proximate result of Defendant’s action against Plaintiff, as
LAW OFFICES OF GLORIA DREDD HANEY




                                      13   alleged above, Plaintiff has suffered special damages, including but not limited to
333 City Boulevard West, 17th Floor




                                      14
                                           loss of wages, bonuses, deferred compensation, and other employment benefits, in
                                      15
Orange, California 92868




                                      16   an amount to be proven at the time of trial, in excess of the minimum jurisdictional
                                      17   requirements of this Court.
                                      18
                                             24. Unlike other similarly situated employees, Defendant used Plaintiff’s age in
                                      19

                                      20   order to discriminate against her, placed her on a laid-off status, told other
                                      21
                                           employees Plaintiff was incapable, incompetent, and grossly negligent.
                                      22
                                             25. As a further direct and proximate result of Defendants’ unlawful, pervasive,
                                      23

                                      24   discrimination against Plaintiff, as aforesaid, Plaintiff has sustained general damages
                                      25
                                           for severe physical, mental, and emotional injuries, distress, harm and damages in an
                                      26
                                           amount to be proven at the time of trial, in excess of the minimum jurisdictional
                                      27
                                      28   requirements of this Court.


                                                                                        8
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 9 of 14 Page ID #:9


                                       1          WHEREFORE, Plaintiff demands judgment which is more fully stated below
                                       2
                                           against Encore.
                                       3

                                       4

                                       5                              STATEMENT OF STATE CLAIM
                                       6
                                                                       FOURTH CLAIM FOR RELIEF
                                       7

                                       8                         (Harassment/Hostile Work Environment Against
                                       9                           Defendants Encore, D. Griffin, and J. Griffin
                                      10
                                                                        Pursuant to the California FEHA)
                                      11

                                      12          26.       The allegations and attachments set forth above in paragraphs 1
LAW OFFICES OF GLORIA DREDD HANEY




                                      13   through 25, inclusive, are incorporated into this claim for relief by reference as if set
333 City Boulevard West, 17th Floor




                                      14
                                           forth in full.
                                      15
Orange, California 92868




                                      16        27.      Plaintiff was harassed, retaliated against, and denied reinstatement back
                                      17   to her job duties after being laid off like all other similarly situated employees. She
                                      18
                                           was treated this way because of her complaints and protesting the discrimination
                                      19

                                      20   against her based on age discrimination. The retaliation and harassment leveled
                                      21
                                           against her were in violation of the California Fair Employment and Housing Act.
                                      22
                                           These Defendants knowingly encouraged the punitive, harassing acts against
                                      23

                                      24   Plaintiff and did nothing to prevent them. The conduct was so severe and pervasive
                                      25
                                           that it has caused Plaintiff to suffer from anxiety attacks and post-traumatic stress.
                                      26
                                               28.      Defendants acted with (1) the intent to inflict the injury upon Plaintiff and
                                      27
                                      28   (2) the realization that the injury of losing her job was substantially certain to result


                                                                                         9
                                                               PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 10 of 14 Page ID #:10


                                        1   from Defendants’ conduct, most especially because of Plaintiff’s race. Plaintiff’s
                                        2
                                            emotional distress was and is now severe, substantial and enduring and was actually
                                        3

                                        4   caused by the Defendant’s pervasive and professionally unlawful conduct.
                                        5      29. As a direct and proximate result of Defendant’s action against Plaintiff, as
                                        6
                                            alleged above, Plaintiff has suffered special damages, including but not limited to
                                        7

                                        8   loss of wages, bonuses, deferred compensation, and other employment benefits, in
                                        9   an amount to be proven at the time of trial, in excess of the minimum jurisdictional
                                       10
                                            requirements of this Court.
                                       11

                                       12      30. Unlike other similarly situated employees, Defendant used Plaintiff’s age
LAW OFFICES OF GLORIA DREDD HANEY




                                       13   in order to discriminate against her, placed her on laid-off status, told other
333 City Boulevard West, 17th Floor




                                       14
                                            employees Plaintiff was laid off and continues to be laid off because she is
                                       15
Orange, California 92868




                                       16   incapable, incompetent, and grossly negligent.
                                       17     31. As a further direct and proximate result of Defendants’ unlawful, pervasive,
                                       18
                                            discrimination against Plaintiff, as aforesaid, Plaintiff has sustained general damages
                                       19

                                       20   for severe physical, mental, and emotional injuries, distress, harm and damages in an
                                       21
                                            amount to be proven at the time of trial, in excess of the minimum jurisdictional
                                       22
                                            requirements of this Court.
                                       23

                                       24         WHEREFORE, Plaintiff demands judgment which is more fully stated below
                                       25
                                            against District.
                                       26

                                       27
                                       28


                                                                                        10
                                                                PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 11 of 14 Page ID #:11


                                        1                          STATEMENT OF FEDERAL CLAIM
                                        2
                                                                      SEVENTH CLAIM FOR RELIEF
                                        3

                                        4                     (Protected Expressions/Freedom of Speech Against
                                        5               Encore, D. Griffin, and J. Griffin Pursuant to 42 U.S.C. § 1983)
                                        6
                                                    32. The allegations and attachments set forth above in paragraphs 1 through
                                        7

                                        8   31, inclusive, are incorporated into this claim for relief by reference as if set forth in
                                        9   full.
                                       10
                                                    33. Defendants violated Plaintiff’s right to freedom of speech when they
                                       11

                                       12   sought to and did take punitive actions against her when she publicly identified the
LAW OFFICES OF GLORIA DREDD HANEY




                                       13   problems at Encore which could harm staff and students.
333 City Boulevard West, 17th Floor




                                       14
                                                    WHEREFORE, Plaintiff seeks a judgment against these individual
                                       15
Orange, California 92868




                                       16   Defendants also.
                                       17

                                       18
                                                                        DEMAND FOR JURY TRIAL
                                       19

                                       20           Plaintiff hereby demands a trial by jury in this matter.
                                       21

                                       22
                                                                           PRAYER FOR RELIEF
                                       23

                                       24           1. Issue a permanent injunction instructing District to reinstate Plaintiff in
                                       25
                                            the position Plaintiff held before the unlawful suspension.
                                       26
                                                    2. Issue a declaration of rights declaring that Defendant’s retaliatory,
                                       27
                                       28


                                                                                         11
                                                               PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 12 of 14 Page ID #:12


                                        1   discriminating, and harassing conduct as alleged in this complaint violates
                                        2
                                            Plaintiff’s civil and constitutional rights.
                                        3

                                        4         3. An award of monetary damages sufficient to fully compensate Plaintiff for
                                        5   all losses she has suffered as a direct and proximate result of Encore’s and its agents
                                        6
                                            unequal, discriminatory, bullying, harassing, and retaliatory treatment of her.
                                        7

                                        8         4. An award of monetary damages sufficient to fully compensate Plaintiff for
                                        9   emotional trauma suffered by her, including damages for mental distress, emotional
                                       10
                                            pain, loss of enjoyment of life, and other nonpecuniary losses.
                                       11

                                       12         5. An award of monetary damages as mandated by civil rights laws, both
LAW OFFICES OF GLORIA DREDD HANEY




                                       13   federal and state.
333 City Boulevard West, 17th Floor




                                       14
                                                  6. An award of monetary damages as mandated by the Fair Employment and
                                       15
Orange, California 92868




                                       16   Housing Act with a lodestar application.
                                       17         7. An award of costs, including attorneys’ fees pursuant to California Code
                                       18
                                            of Civil Procedure, § 1021.5; 42 U.S.C., § 1988 and any other applicable statutes for
                                       19

                                       20   attorneys’ fees.
                                       21
                                                  8. An award of costs, including attorneys’ fees, to cover all of Plaintiff’s
                                       22
                                            actual costs.
                                       23

                                       24         9. An award of punitive damages, applicable
                                       25
                                                  10. An award of damages pursuant to other relevant provisions of law.
                                       26
                                                  11. An award of such other and further relief as the Court considers proper
                                       27
                                       28   and just.


                                                                                           12
                                                               PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 13 of 14 Page ID #:13


                                        1   Dated: March 29, 2021
                                        2
                                                                        LAW OFFICES OF GLORIA DREDD HANEY
                                        3

                                        4

                                        5                               By: _____________________________
                                        6                                   Gloria Dredd Haney
                                                                            Attorney for Plaintiff
                                        7                                   KIM FERRANTE
                                        8

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LAW OFFICES OF GLORIA DREDD HANEY




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333 City Boulevard West, 17th Floor




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Orange, California 92868




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                                                          PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
                                      Case 5:21-cv-00585-JGB-KK Document 1 Filed 04/02/21 Page 14 of 14 Page ID #:14


                                        1                                   VERIFICATION
                                        2

                                        3
                                            1, KIMBERLY FERRANTE, DECLARE AS FOLLOWS:

                                        4
                                                  1 am the Plaintiff in the above-entitled action and make this verification
                                        5

                                        6
                                            for my Federal Verified Complaint. I have read the foregoing Verified

                                        7   Complaint and know of its contents. The same is true of my knowledge,
                                        8
                                            except as to those matters which are therein stated on information and belief
                                        9

                                       10   and as to those matters I believe to be true from my own observation.
                                       11
                                                  I declare under penalty of perjury under the laws of the United
                                       12
LAW OFFICES OF GLORIA DREDD HANEY




                                       13   States and the State of California that the foregoing is true and correct.
333 City Boulevard West, 17th Floor




                                       14
                                                  Executed the day of March ___ 2021 in Apple Valley, California.
                                       15
Orange, California 92868




                                       16

                                       17                            ___________________________
                                       18                            Declarant
                                       19

                                       20
                                       21

                                       22

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                                       28


                                                                                     14
                                                            PLAINTIFF KIM FERRANTE’S VERIFIED FEDERAL COMPLAINT
